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DEFENDANT:             LAWRENCE RUDOLPH

YOB:                   1955

ADDRESS (CITY/STATE): Paradise Valley, AZ

OFFENSE(S):            Mail Fraud (18 U.S.C. § 1341)


LOCATION OF OFFENSE (COUNTY/STATE): Arapahoe/Colorado

PENALTY:               NMT 20 years’ imprisonment; NMT $250,000 fine (or 2x the gain or loss,
                       whichever is great), or both a fine and imprisonment; NMT 3 years’
                       supervised release; $100 special assessment.


AGENTS:                FBI SA Donald Peterson
                       FBI SA Scott Dahlstrom
                       Rocky Mountain Safe Streets Task Force Officer Shawna Gilbert

AUTHORIZED BY: Bryan David Fields
               Assistant U.S. Attorney

ESTIMATED TIME OF TRIAL:

       five days or less      X     over five days             other

THE GOVERNMENT

  X     will seek detention in this case             will not seek detention in this case

The statutory presumption of detention is or is not applicable to this defendant. (Circle one)

OCDETF CASE:                  Yes          X           No
